Case 2:24-cv-06146-SIL          Document 20            Filed 12/18/24   Page 1 of 2 PageID #: 488




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 JOHN DOE,
                                                                         STIPULATION OF
                                   Plaintiff,                            DISMISSAL AND TO
                                                                         AMEND CAPTION
                         v.
                                                                         Civil Action No. 2:24-cv-
 HOFSTRA UNIVERSITY; BOARD OF TRUSTEES OF                                6146-SIL
 HOFSTRA UNIVERSITY,

                                   Defendants.


        WHEREAS, this action was commenced on or about September 3, 2024; and

        WHEREAS, Plaintiff named the “Board of Trustees of Hofstra University” as a

defendant; and

        WHEREAS, the “Board of Trustees of Hofstra University” is not a separate legal entity;

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys of record for all the parties, as follows:

        1.       The named defendant Board of Trustees of Hofstra University is hereby dismissed

from the action, without prejudice and without costs or fees to either party as against the other.

        2.       The caption for this action is hereby amended to reflect the dismissal of the Board

of Trustees of Hofstra University as follows:

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 JOHN DOE,

                                   Plaintiff,

                         v.                                              Civil Action No. 2:24-cv-6146-
                                                                         SIL
 HOFSTRA UNIVERSITY,

                                   Defendants.
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       3.      Electronic and/or PDF signatures shall be deemed originals for the purpose of

filing this Stipulation with the Court.



Dated: December 18, 2024



 By:   /s/Stuart Bernstein                         By: /s/Suzanne M. Messer
       Stuart Bernstein                                Suzanne M. Messer

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 363 Seventh Avenue, Fifth Floor                   1010 Franklin Avenue, Suite 200
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 Tel: (212) 736-4500                               Tel: (315 218-8000

 Attorneys for Plaintiff                           Attorneys for Defendant




SO ORDERED:



________________________________
Hon. Steven I. Locke
United States Magistrate Judge




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